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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

  MELANIE NICOLE MOORE,

         Plaintiff,

  v.                                                          Case No: 8:20-cv-2184-MSS-SPF

  POOCHES OF LARGO, INC. and
  LUIS MARQUEZ,

         Defendants.


                 CASE MANAGEMENT AND SCHEDULING ORDER

         Pursuant to the Court’s December 8, 2022 Order, the Court hereby enters this

  Case Management and Scheduling Order. Absent arbitration or a Court order to the

  contrary, the parties in every case must participate in Court-annexed mediation with

  a mediator selected by the parties from a Court approved list of mediators. Therefore,

  the Parties are hereby ORDERED to confer and agree upon a Court approved

  mediator1, and they shall have up to and including fourteen (14) days from date of

  Order to file written notice informing the Court of the parties’ selection and

  mediation date. If the Parties cannot agree on a mediator within the time designated

  above, they must notify the Court and the Court will select a mediator. Payment shall

  be required by both sides in advance of the mediation, which shall be scheduled on a




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   A list of Court approved mediators is available from the Clerk and is posted on the website for the
  Middle District at http://www.flmd.uscourts.gov.
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  date on or before the deadline set forth in this Order. Failure by either party to

  mediate in good-faith by the Court-Ordered deadline may result in sanctions.

   Mandatory Initial Disclosures                                        JANUARY 3, 2023

   Certificate of Interested Persons and Corporate                           COMPLETED
   Disclosure Statement
   Motions to Add Parties or to Amend Pleadings                              COMPLETED

   Disclosure of Expert Reports                 Plaintiff:             JANUARY 13, 2023

                                              Defendant:               JANUARY 30, 2023

   Discovery Deadline                                                FEBRUARY 14, 2023
   Dispositive Motions, Daubert, and Markman                         FEBRUARY 28, 2023
   Motions
   Meeting In Person to Prepare Joint Final Pretrial                        APRIL 26, 2023
   Statement

   Joint Final Pretrial Statement                                              MAY 3, 2023
   (See Section III. B.)
   All Other Motions Including Motions In Limine                               MAY 8, 2023
   Final Pretrial Conference                                     If needed, it will be set, by
                                                                  separate notice, on a date
                                                                     that is approximately 4
                                                                           weeks before trial
   Trial Briefs and Deposition Transcripts with                              MAY 12, 2023
   Designations Highlighted
                                              Trial Term:                        JUNE 2023
                                                  Begins:                     JUNE 5, 2023
   Parties shall be prepared to try this case anytime
   during the trial term. A more specific date will
   follow, by separate notice.
   Estimated Length of Trial                                                           2 days



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      Jury / Non-Jury                                                                    Jury

      Mediation
                                                   Deadline:            JANUARY 30, 2023
                                                   Mediator:                        TBD
      Designated Lead Counsel
      shall contact opposing counsel
      and the mediator to reserve a
      conference date and shall file
      a Notice with the Court within
      fourteen (14) days of this Order
      advising of the date.

      Designated Lead Counsel:                                        Matthew Seth Sarelson



           The purpose of this order is to discourage wasteful pretrial activities, and to

  secure the just, speedy, and inexpensive determination of the action. See FED. R. CIV.

  P. 1; Local Rule 1.01(a). This order controls the subsequent course of this proceeding.

  FED. R. CIV. P. 16(b), (e). Counsel and all parties (both represented and pro se) shall

  comply with this order, with the Federal Rules of Civil Procedure, with the Local

  Rules of the United States District Court for the Middle District of Florida, and with

  the Administrative Procedures for Case Management/Electronic Case Filing. A copy

  of the Local Rules and Administrative Procedures may be viewed at

  http://www.flmd.uscourts.gov. Counsel shall also comply with the Ideals and Goals

  of Professionalism adopted by the Board of Governors of the Florida Bar on May 16,

  1990 available at www.floridabar.org (Professional Practice – Henry Latimer Center

  for Professionalism).2


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   See also procedures for the presiding district judge found under Judicial Information at
  www.flmd.uscourts.gov.
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  I.    DISCOVERY

          A.    Certificate of Interested Persons and Corporate Disclosure Statement
  – This Court has previously ordered each party, governmental party, intervenor, non-
  party movant, and Rule 69 garnishee to file and serve a Certificate of Interested
  Persons and Corporate Disclosure Statement using a mandatory form. No party may
  seek discovery from any source before filing and serving a Certificate of Interested
  Persons and Corporate Disclosure Statement. A motion, memorandum, response, or
  other paper – including emergency motion – may be denied or stricken unless the filing
  party has previously filed and served a Certificate of Interested Persons and Corporate
  Disclosure Statement. Any party who has not already filed and served the required
  certificate shall do so within the time required by this order, or sanctions will be
  imposed.

        B.     Discovery Not Filed – The parties shall not file discovery materials with
  the Clerk. The Court encourages the exchange of discovery requests on diskette or by
  e-mail.

         C.    Limits on Discovery – Absent leave of Court, the parties may take no
  more than ten depositions per side (not per party). FED. R. CIV. P. 30(a)(2)(A); FED.
  R. CIV. P.31(a)(2)(A). Absent leave of Court, the parties may serve no more than
  twenty-five interrogatories, including sub-parts. FED. R. CIV. P. 33(a). Absent leave
  of the Court or stipulation by the parties, each deposition is limited to one day of seven
  hours. FED. R. CIV. P.30(d)(2). The parties may agree by stipulation on other limits
  on discovery within the context of the limits and deadlines established by this Case
  Management and Scheduling Order, but the parties may not alter the terms of this
  Order without leave of Court. See, e.g., FED. R. CIV. P. 29.

         D.    Discovery Deadline – Each party shall timely serve discovery requests
  so that the Rules allow for a response prior to the discovery deadline. The Court may
  deny as untimely all motions to compel filed after the discovery deadline.

        E.     Disclosure of Expert Testimony – On or before the date set forth in the
  above table for the disclosure of expert reports, the party shall fully comply with
  Federal Rule of Civil Procedure 26(a)(2) and 26(e). Expert testimony on direct
  examination at trial will be limited to the opinions, bases, reasons, data, and other
  information disclosed in the written expert report disclosed pursuant to this Order.
  Failure to disclose such information may result in the exclusion of all or part of the
  testimony of the expert witness.

        F.    Confidentiality Agreements – The parties may reach their own
  agreement regarding the designation of materials as “confidential.” There is no need
  for the Court to endorse the confidentiality agreement. The Court discourages
  unnecessary stipulated motions for a protective order. The Court will enforce
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  stipulated and signed confidentiality agreements. Each confidentiality agreement or
  order shall provide, or shall be deemed to provide, that “no party shall file a document
  under seal without first having obtained an order granting leave to file under seal on a
  showing of particularized need.” See also “Motions to File Under Seal” below.

  II.    MOTIONS

          A.     Certificate of Good Faith Conference – Before filing any motion in a
  civil case, the moving party shall confer with the opposing party in a good faith effort
  to resolve the issues raised by the motion, and shall file with the motion a statement
  certifying that the moving party has conferred with the opposing party, and that the
  parties have been unable to agree on the resolution of the motion. Local Rule 3.01(g).
  A certification to the effect that opposing counsel was unavailable for a conference
  before filing a motion is insufficient to satisfy the parties' obligation to confer. See Local
  Rule 3.01(g). No certificate is required in a motion for injunctive relief, for judgment
  on the pleadings, for summary judgment, or to certify a class. Local Rule 3.01(g). The
  term "counsel" in Rule 3.01(g) includes pro se parties acting as their own counsel, thus
  requiring movants to confer with pro se parties and requiring pro se movants to file
  Rule 3.01(g) certificates. The term “confer” in Rule 3.01(g) requires a substantive
  conversation in person or by telephone in a good faith effort to resolve the motion
  without court action and does not envision an exchange of ultimatums by fax or letter.
  Counsel who merely “attempt” to confer have not “conferred.” The Court may deny
  motions that fail to include an appropriate, complete Rule 3.01(g) certificate.

         B.     Extension of Deadlines

       The parties may not extend deadlines established in this Case Management and
  Scheduling Order without the approval of the Court.

               1.     Dispositive Motions Deadline and Trial Not Extended –
  Motions to extend the dispositive motions deadline or to continue the trial are
  generally denied. The Court will grant an exception only when necessary to prevent
  manifest injustice. A motion for a continuance of the trial is subject to denial if it fails
  to comply with Local Rule 3.08. In light of the district court’s heavy felony trial
  calendar, at least 5 months are required before trial to receive memoranda in
  opposition to a motion for summary judgment, and to research and resolve the
  dispositive motion sufficiently in advance of trial.

                2.    Extensions of Other Deadlines Disfavored – Motions for an
  extension of other deadlines established in this order, including motions for an
  extension of the discovery period, are disfavored. The deadline will not be extended
  absent a showing of good cause. FED. R. CIV. P. 16(b). Failure to complete discovery
  within the time established by this Order shall not constitute cause for continuance. A
  motion to extend an established deadline normally will be denied if the motion fails to
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  recite that: 1) the additional discovery is necessary for specified reasons; 2) all parties
  agree that the extension will not affect the dispositive motions deadline and trial date;
  3) all parties agree that any discovery conducted after the dispositive motions date
  established in this Order will not be available for summary judgment purposes; and 4)
  no party will use the granting of the extension in support of a motion to extend another
  date or deadline. The filing of a motion for extension of time does not toll the time for
  compliance with deadlines established by Rule or Order.

         C.     Motions to File Under Seal – Whether documents filed in a case may be
  filed under seal is a separate issue from whether the parties may agree that produced
  documents are confidential. Motions to file under seal are disfavored, and such
  motions will be denied unless they comply with Local Rule 1.11.

         D.      Memoranda in Opposition – A party may respond to a motion to
  dismiss, for judgment on the pleadings, to exclude or limit expert testimony, to certify
  a class, for a new trial, or to alter or amend the judgment within twenty-one days after
  being served with such motion. Local Rule 3.01(c). For all other motions, a party may
  respond within fourteen days after being served with such motion. Local Rule 3.01(c).
  Where no memorandum in opposition has been filed, the Court routinely grants the
  motion as unopposed. Motions titled as “unopposed” or “agreed” normally come to
  the Court’s attention prior to the deadline for response.

         E.    Emergency Motions – The Court may consider and determine
  emergency motions at any time. Local Rule 3.01(e). Counsel should be aware that the
  designation “emergency” may cause the Court to shift its attention from other pending
  matters in order to immediately address the “emergency.” The Court will sanction any
  counsel or party who designates a motion as “emergency” under circumstances that
  are not a true emergency. Id. It is not an emergency when counsel has delayed
  discovery until the end of the discovery period. Promptly after filing an emergency
  motion, counsel shall place a telephone call to the chambers of the presiding judge to
  notify the Court that an emergency motion has been filed.

          F.     Page Limits – No party shall file a motion and supporting memorandum
  in excess of twenty-five pages or a response in excess of twenty pages except by
  permission of the Court. Local Rule 3.01(a), (b). A motion requesting leave to file
  either a motion in excess of twenty-five pages, a response in excess of twenty pages, or
  a reply or further memorandum may not exceed three pages, shall specify the length
  of the proposed filing, and shall not include, as an attachment or otherwise, the
  proposed motion, response, reply, or other paper. Local Rule 3.01(a), (b), (d). Motions
  for relief from page limitations are disfavored and will not be granted without a specific
  showing of good cause.

        G.     Motions for Summary Judgment

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                  1.     Required Materials – A motion for summary judgment shall
  specify the material facts as to which the moving party contends there is no genuine
  issue for trial, and shall be accompanied by a memorandum of law, affidavits and other
  evidence in the form required by Federal Rule of Civil Procedure 56. The motion for
  summary judgment and supporting memorandum of law shall be presented in a single
  document of not more than twenty-five pages. Local Rule 3.01(a). Each party
  opposing a motion for summary judgment shall serve, within thirty (30) days after
  being served with such motion, a legal memorandum with citation of authorities in
  opposition to the relief requested of not more than twenty (20) pages. Id. This
  deadline reflects a nine-day extension of time beyond the deadline established by Rule
  56, as amended; thus, additional requests for extension are disfavored. The
  memorandum in opposition shall specify the material facts as to which the opposing
  party contends there exists a genuine issue for trial, and shall be accompanied by
  affidavit(s) and other evidence in the form required by Federal Rule of Civil Procedure
  56. Both the movant and the party opposing summary judgment shall provide pinpoint
  citations to the pages and lines of the record supporting each material fact. General
  references to a deposition are inadequate. On or before the date on which the
  memorandum in opposition is due, the parties SHALL also file a stipulation of agreed
  material facts signed by the movant and the parties opposing summary judgment
  pursuant to Local Rule 3.05. Material facts set forth in the stipulation will be deemed
  admitted for the purposes of the motion. The Court will accept a ten (10) page reply.
  The reply shall be limited to addressing issues raised by the opposing party that have
  not already been addressed in the motion. The reply shall be filed within fourteen (14)
  days after the response is served.


               2.     Under Advisement – The Court takes a motion for summary
  judgment under advisement no earlier than forty-five (45) days from the date it is
  served, unless the Court orders a different date. Unless specifically ordered, the Court
  will not hold a hearing on the motion. Failure to oppose any motion for summary
  judgment may result in the entry of a judgment for the movant without further
  proceedings. See Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984); Griffith v.
  Wainwright, 772 F.2d 822, 825 (11th Cir. 1985) (per curiam); FED. R. CIV. P.56 (e). All
  requirements in this Order apply to pro se litigants as well as to parties represented by
  counsel.

  H.     Daubert and Markman Motions – On or before the date established in the
  above table for the filing of motions for summary judgment, any party seeking a ruling
  pursuant to Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993) (admissibility of
  expert opinions) or pursuant to Markman v. Westview Instruments, Inc., 517 U.S. 370
  (1996) (interpretation of a patent claim) shall file an appropriate motion. The parties
  shall prepare a glossary of technical or scientific terms where appropriate for the Court.


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         I.    All Other Motions Including Motions In Limine – On or before the date
  established in the above table, the parties shall file and serve all other motions
  including motions in limine. Local Rule 3.01(g) applies, and the parties shall confer to
  define and limit the issues in dispute.

  III. JOINT FINAL PRETRIAL STATEMENT

         A.     Meeting In Person – On or before the date established in the above table,
  lead trial counsel for all parties and any unrepresented parties shall meet together in
  person or by video conference pursuant to Local Rule 3.06(a) in a good faith effort to:

                1. settle the case; the parties shall thoroughly and exhaustively discuss
  settlement of the action before undertaking the extensive efforts needed to conduct
  final preparation of the case for trial and to comply with the requirements of this order;

                 2. stipulate to as many facts and issues as possible; in order to assist the
  Court, the parties shall make an active and substantial effort to stipulate at length and
  in detail as to agreed facts and law, and to limit, narrow, and simplify the issues of fact
  and law that remain contested; as a rule, parties who have complied with this
  requirement in good faith will file a Joint Final Pretrial Statement listing far more
  agreed facts and principles of law than those that remain for determination at trial;

                 3. tag, mark, identify, examine, copy, and list all original trial exhibits
  (including actual document exhibits) that any party will offer in evidence or otherwise
  tender to any witness during trial [Local Rule 3.06(a)(4) and 3.07(a)]; and prepare and
  exchange a final exhibit list on the Clerk’s approved form (attached to this order)
  bearing a description identifying each exhibit and sponsoring witness [Local Rule
  3.07(b)]; it is anticipated that counsel will agree to the admission of the bulk of the
  opposing parties’ exhibits without objection and shall designate on the exhibit list the
  exhibits which the Court may admit without objection at trial. Absent good cause, the
  Court will not receive in evidence over objection any exhibits – including charts,
  diagrams, and demonstrative evidence – not presented to opposing counsel or
  unrepresented parties for inspection and copying at the required meeting or not listed
  in the joint final pretrial statement. Photographs of sensitive exhibits (i.e., guns, drugs,
  valuables) and of non-documentary evidence, and reductions of documentary exhibits
  larger than 8 ½” by 14” to be substituted for original exhibits after conclusion of the
  trial must be presented to opposing counsel for examination at the meeting to prepare
  the Joint Final Pretrial Statement. Objections to such photographs or reductions of
  exhibits must be listed in the Joint Final Pretrial Statement. The parties are advised
  that the design of certain courtrooms may preclude the use of large exhibits and posters
  in a jury trial. The parties are directed to contact the trial judge’s courtroom deputy
  clerk to discuss exhibits and equipment to be used during trial; and


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                4. exchange the names and addresses of all witnesses and state whether
  they will likely be called.

         B. Form of Joint Final Pretrial Statement – On or before the date established
  in the above table, the parties shall file a Joint Final Pretrial Statement that strictly
  conforms to the requirements of Local Rule 3.06(b) and this Order. This case must be
  fully ready for trial at the time that the Joint Final Pretrial Statement is due.
  Anticipated length of trial based on issues remaining at the time of the filing of the
  Joint Final Pretrial Statement must be included as a separate line item in the Joint
  Pretrial Statement. Lead trial counsel for all parties, or the parties themselves if
  unrepresented, shall sign the Joint Final Pretrial Statement. The Court will strike
  pretrial statements that are unilateral, incompletely executed, or otherwise incomplete.
  Inadequate stipulations of fact and law will be stricken. Sanctions may be imposed for
  failure to comply, including the striking of pleadings. At the time the Joint Final
  Pretrial Conference if filed, all pleadings are deemed to be merged into the Joint Final
  Pretrial Statement, which will control the course of the trial. FED. R. CIV. P. 16(d).

                1.      Exhibit List – The exhibit list filed in compliance with Local Rules
  3.06(b)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this order).
  Unlisted exhibits will not be received into evidence at trial, except by order of the Court
  in the furtherance of justice. The Joint Final Pretrial Statement must attach each
  party’s exhibit list on the approved form, listing each specific objection (“all objections
  reserved” does not suffice) to each numbered exhibit that remains after full discussion
  and stipulation. Objections not made – or not made with specificity – are waived.

                 2.     Witness List – On the witness list required by Local Rule
  3.06(b)(5), the parties and counsel shall designate which witnesses will likely be called,
  and also designate which witnesses may be called. Absent good cause, the Court will
  not permit over objection testimony from unlisted witnesses at trial. This restriction
  does not apply to true rebuttal witnesses (i.e., witnesses whose testimony could not
  reasonably have been foreseen to be necessary). Records custodians may be listed but
  will not likely be called at trial, except in the rare event that authenticity or foundation
  is contested. For good cause shown in compelling circumstances, the Court may
  permit presentation of testimony in open court by contemporaneous transmission from
  a different location. FED. R. CIV. P. 43(a).

                 3.      Depositions – The Court encourages stipulations of fact to avoid
  calling unnecessary witnesses. Where a stipulation will not suffice, the Court permits
  the use of depositions. At the required meeting, counsel and unrepresented parties
  shall agree upon and list in the Joint Final Pretrial Statement the pages and lines of
  each deposition (except where used solely for impeachment) to be published to the
  trier of fact. If, after an active and substantial effort at resolution, the parties continue
  to disagree as to any proposed designations, the parties shall include in their Joint Final
  Pretrial Statement, argument and authority for each party’s position regarding
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  disputed testimony. The parties shall file as an attachment to the Joint Final Pretrial
  Statement the deposition excerpts of any testimony that remains in dispute.
  Highlighted excerpts of the undisputed designations are not due to be filed until the
  trial briefs are due.

                4.    Joint Jury Instructions, Verdict Form, Voir Dire Questions – In
  cases to be tried before a jury, the parties shall attach to the Joint Final Pretrial
  Statement a single jointly proposed set of jury instructions in order of presentation
  to the jury, together with a single jointly-proposed jury verdict form. The parties
  should be considerate of their jury, and therefore should submit short, concise special
  verdict forms. The Court prefers pattern jury instructions approved by the United
  States Court of Appeals for the Eleventh Circuit. A party may include at the
  appropriate place in the single set of jointly-proposed jury instructions a contested
  charge, so designated with the name of the requesting party and bearing at the bottom
  a citation of authority for its inclusion, together with a summary of the opposing
  party’s objection. The Court will deny outright a proposed instruction that is “slanted”
  in any way. Any modifications to Eleventh Circuit standard jury instructions are
  disfavored and shall be clearly marked and identified on the proposed jury
  instructions. The Court requires that the parties, provide to the Court, via e-mail3,
  their proposed joint jury instructions and verdict form in Word format. The parties
  may include in the Joint Final Pretrial Statement a single list of jointly-proposed
  questions for the Court to ask the venire during voir dire. A link to the Pattern Jury
  Instructions Builder is available on the Court’s website under “Forms”, “Civil” and
  under “Criminal”. Additionally, they can be found under “Judicial Information”,
  “The Honorable Mary S. Scriven”.

          C.     Coordination of Joint Final Pretrial Statement – All parties are
  responsible for filing a Joint Final Pretrial Statement in full compliance with this order.
  Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall have the
  primary responsibility to coordinate compliance with the sections of this order that
  require a meeting of lead trial counsel and unrepresented parties in person and the
  filing of a Joint Final Pretrial Statement and related material. See Local Rule 3.10
  (relating to failure to prosecute). If the plaintiff is proceeding pro se, defense counsel
  shall coordinate compliance. If counsel is unable to coordinate such compliance,
  counsel shall timely notify the Court by written motion or request for a status
  conference.

            D.     Trial Briefs, Deposition Designations and Other Materials

               1.     Trial Briefs – In the case of a non-jury trial, on or before the date
  established above, each party shall file and serve a trial brief with proposed findings of


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      Judge Scriven’s e-mail address is as follows: chambers flmd scriven@flmd.uscourts.gov
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  fact and conclusions of law. The parties may file a trial brief on or before the same date
  in the case of a jury trial.

               2.    Deposition Transcripts with Designations – On the date
  specified above, the parties shall file a copy of their deposition transcripts with
  designations that are to be offered in evidence. The Deposition transcripts shall be
  edited and marked as to the portion offered by each party.

                 3.    Exhibit Notebook – On the first day of a jury trial or non-jury trial,
  the parties shall provide to the Court a bench notebook containing marked copies of
  all exhibits. The parties may contact the courtroom deputy clerk for the trial judge to
  determine whether this requirement may be waived.

  IV. MEDIATION

         A.      Purpose – To minimize costly pretrial procedures in a case that may be
  equitably settled, and to secure the just, speedy, and inexpensive determination of this
  action, all parties shall participate in good faith in mediation. See FED. R. CIV. P. 1;
  FED. R. CIV. P. 16(a)(5); Local Rules 1.01(a). Parties who prefer mediation but have
  been designated for arbitration may file and serve a joint motion seeking relief from
  arbitration.

         B.     The Mediator – This Court prefers to appoint the certified and approved
  mediator, if any, chosen by the parties and disclosed in their Case Management
  Report. If no such mediator has been chosen and reported, the parties shall confer and
  agree upon a Court approved mediator and shall have up to and including 21 days
  from the date of this Order to file a written notice informing the Court of the parties’
  selection and mediation date. Should the parties fail to agree on a Court approved
  mediator and fail to file written notice within the 21 days allotted, the Court will
  appoint a mediator without further notice pursuant to Local Rule 4.03. The mediator
  shall conduct the mediation conference in the conference room of the mediator’s law
  firm or office at a time and date selected by the mediator within the confines of this
  order.

        C.     Last Date to Mediate – The parties shall complete the mediation
  conference on or before the mediation date set forth earlier in the above table. Neither
  the mediator nor the parties have authority to continue the mediation conference
  beyond this date except on express order of the Court. In any Track Three case,
  complex case, or case involving multiple parties, the mediator has the authority to
  conduct the mediation in a series of sessions and in groups of parties so that mediation
  is complete by the last date to mediate.

        D.     Mediator’s Authority – The mediator shall have all powers and
  authority to conduct a mediation and to settle this case as are described in Chapter
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  Nine of the Local Rules, except as limited by this order. The mediation shall continue
  until adjourned by the mediator. In order to coordinate the mediation conference, the
  mediator may set an abbreviated scheduling conference prior to the scheduled
  mediation. At such time, the mediator may designate one or more coordinating
  attorneys who shall be responsible for conferring with the mediator regarding the
  mediation conference. If necessary, the coordinating attorney may coordinate the
  rescheduling of a mediation conference within the time allowed in this order.

        E.     General Rules Governing Mediation Conference

                1.    Case Summaries – Not less than two days prior to the mediation
  conference, each party shall deliver to the mediator a written summary of the facts and
  issues of the case.

                2.      Identification of Corporate Representative – As part of the
  written case summary, counsel for each corporate party shall state the name and
  general job description of the employee or agent who will attend and participate with
  full authority to settle on behalf of the corporate party.

                 3.    Attendance Requirements and Sanctions – Each attorney acting
  as lead trial counsel, and each party (and in the case of a corporate party, a corporate
  representative) with full authority to settle, shall attend and participate in the
  mediation conference. The mediation conference may be held in person or if the
  pandemic is still ongoing, by video conference. In the case of an insurance company,
  the term “full authority to settle” means authority to settle for the full value of the
  claim or policy limit. Claims professionals with full settlement authority may include
  insurance adjusters. Local Rule 4.03(d). The Court will impose sanctions upon lead
  counsel and parties who do not attend and participate in good faith in the mediation
  conference.

               4.     Authority to Declare Impasse – Participants shall be prepared to
  spend as much time as may be necessary to settle the case. No participant may force
  the early conclusion of a mediation because of travel plans or other engagements. Only
  the mediator may declare an impasse or end the mediation.

                5.    Restrictions on Offers to Compromise – Evidence of an offer to
  compromise a claim is not admissible to prove liability for or invalidity of the claim or
  its amount. FED. R. EVID. 408 (includes evidence of conduct or statements made in
  compromise negotiations); Local Rule 4.03(g). All discussion, representations and
  statements made at the mediation conference are privileged settlement negotiations.
  Except in a supplemental proceeding to enforce a settlement agreement, nothing
  related to the mediation conference shall be admitted at trial or be subject to discovery.
  FED. R. EVID. 408; Local Rule 4.03(g). A communication between a party and a

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  mediator during a private caucus is also confidential, unless the party tells the mediator
  that it is not.

         F.      Compensation of Mediators – Absent agreement of the parties and the
  mediator, mediators shall be compensated at a reasonable hourly rate agreed to by the
  parties or provided by order of the Court, absent agreement of the parties, after
  consideration of the amount in controversy, the nature of the dispute, the resources of
  the parties, the prevailing market rate for mediators in the applicable market, the skill
  and experience of the mediator, and other pertinent factors. Unless altered by order of
  the Court, the cost of the mediator's services shall be borne equally by the parties to
  the mediator conference.

         G.     Settlement and Report of Mediator – A settlement agreement reached
  between the parties shall be reduced to writing and signed by the parties and their
  attorneys in the presence of the mediator. See also Local Rule 3.09. Within seven days
  of the conclusion of the mediation conference, the mediator shall file and serve a
  written mediation report stating whether all required parties were present, whether the
  case settled, and whether the mediator was forced to declare an impasse. See Local
  Rule 4.03(f). The mediator may report any conduct of a party or counsel that falls short
  of a good faith effort to resolve the case by agreement or fails to comply with this
  Order. See Local Rule 4.03(e), (f).

  V. FINAL PRETRIAL CONFERENCE

         A.     Lead Trial Counsel and Parties – If this order does not set a final pretrial
  conference date, the Court may later set a final pretrial conference on notice. Lead
  trial counsel for each party, local counsel for each party, and each individual party
  (in the case of a corporate party, a corporate representative together with any
  unrepresented party, must attend the final pretrial conference in person unless
  previously excused by the Court. See FED. R. CIV. P. 16(d).

         B.     Substance of Final Pretrial Conference – Since this case must be fully
  ready for trial at the time that the Joint Final Pretrial Statement is due, at the final
  pretrial conference, all counsel and parties must be prepared and authorized to
  accomplish the purposes set forth in FED. R. CIV. P. 16 and Local Rule 3.06, including
  formulating and simplifying the issues; eliminating frivolous claims and defenses;
  admitting facts and documents to avoid unnecessary proof; stipulating to the
  authenticity of documents; obtaining advance rulings from the Court on the
  admissibility of evidence; settling the dispute; disposing of pending motions;
  establishing a reasonable limit on the time allowed for presenting evidence; and such
  other matters as may facilitate the just, speedy, and inexpensive disposition of the
  action. See FED. R. CIV. P. 16(c)-(d).


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  VI. SANCTIONS – The Court will impose sanctions on any party or attorney: 1)
  who fails to attend and to participate actively in the meeting to prepare the Joint
  Pretrial Statement, or who refuses to sign and file the agreed document; 2) who fails
  to attend the Final Pretrial Conference, or who is substantially unprepared to
  participate; 3) who fails to attend the mediation and actively participate in good faith,
  or who attends the mediation without full authority to negotiate a settlement, or who
  is substantially unprepared to participate in the mediation; or 4) who otherwise fails to
  comply with this order. Sanctions may include but are not limited to an award of
  reasonable attorneys fees and costs, the striking of pleadings, the entry of default, the
  dismissal of the case, and a finding of contempt of court. See FED. R. CIV. P. 16(f) and
  37; Local Rules 4.03(d), (e); 28 U.S.C. § 1927.

  VII. TRIAL

         A.     Trial Before District Judge – A case scheduled for trial before a United
  States District Judge normally will be called for trial on the first day of the trial term
  indicated in the above table, or as soon after that date as is possible in light of the
  Court’s felony and civil trial calendar.4 Cases not reached for trial in the month
  scheduled will be carried over to the following month on a trailing trial calendar, and
  issued subpoenas will continue in force. Counsel, parties, and witnesses shall be
  available on twenty-four hours notice for trial after the beginning of the trial term.
  A different District Judge or visiting judge may try the case. Local Rule 1.07(a)(2)(A).
  The case may be set for trial in the Orlando Division, Tampa Division, Fort Myers
  Division, Ocala Division, or Jacksonville Division of the Court. Absent a showing of
  good cause, any party whose turn it is to provide evidence will be deemed to have
  rested if, during the hours designated for trial, the party has no further evidence or
  witnesses available.

         B.      Trial Before Magistrate Judge – A case scheduled for trial before a
  United States Magistrate Judge will be called for trial on a date certain. With respect
  to a civil case that remains pending before a District Judge as of the date of this order,
  the United States District Judges of the Middle District of Florida wish to afford the
  parties the opportunity to consent to proceed before a Magistrate Judge. Consent must
  be unanimous. A United States Magistrate Judge is available pursuant to 28 U.S.C. §
  636(c) and Federal Rule of Civil Procedure 73(a) to conduct all further proceedings in
  this case (or specified motions in this case), to conduct a jury or non-jury trial
  beginning on a date certain, and to enter final judgment. A party may appeal a final
  judgment of a Magistrate Judge to the United States Court of Appeals for the Eleventh
  Circuit in the same manner as an appeal from the district court. 28 U.S.C. § 636(c)(3);
  FED. R. CIV. P. 73. A party is free to withhold consent without adverse substantive

  4
    This case may be reassigned to a visiting District Judge at any time. In unusual and extraordinary
  circumstances, the Court may re-notice this case for trial shortly before the first day of the trial term if
  necessary to accommodate the trial schedule of the District Judge.
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  consequences. 28 U.S.C. § 636 (c)(2); FED. R. CIV. P. 73(b). Consent forms are
  attached to this scheduling order. FED. R. CIV. P. 73(b).

          C.     Settlement – Counsel shall immediately notify the Court upon settlement
  of any case. Local Rule 3.09(a). The parties shall notify the Court of any settlement
  or other disposition of the case which will eliminate the need for a jury by 11:30 a.m.
  on the last business day before the date scheduled for jury selection. Failure to do so
  will subject each party to joint and several liability for jury costs. Regardless of the
  status of settlement negotiations, the parties shall appear for all scheduled hearings,
  including the Final Pretrial Conference and for trial absent the filing of a stipulation of
  dismissal signed by all parties who have appeared in the action (or notice of dismissal
  if prior to answer and motion for summary judgment). FED. R. CIV. P. 41(a).


         D.    Electronic Equipment – On September 26, 2013, Chief United States
  District Judge Anne C. Conway, entered a standing order allowing any attorney
  permitted to practice law in the Middle District of Florida, to be allowed to bring any
  personal electronic device into the courthouse by presenting to courthouse security a
  valid Florida Bar identification or pro hac vice order. See Standing Order 6:13-mc-94-
  ORL-22.

        DONE and ORDERED in Tampa, Florida, 13th day of December 2022.




  Attachments:                Exhibit List Form [mandatory form]
                              Magistrate Judge Consent / Entire Case
                              Magistrate Judge Consent / Specified Motions

  Copies furnished to:        United States Magistrate Judge
                              Counsel of Record
                              Any Pro Se parties




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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

MELANIE NICOLE MOORE,

       Plaintiff,

v.                                                                          Case No: 8:20-cv-2184-MSS-SPF

POOCHES OF LARGO, INC., et                                         _____          Evidentiary
al.,
                                                                   _____          Trial
       Defendants.                                                 _____          Other
                                               /

                                                   EXHIBIT LIST

Exhibit Date       Date                 Witness            Objections/Stipulated Description of Exhibit
No.     Identified Admitted                                Admissions5




5
 Type “A” in this column to identify exhibits to be received in evidence by agreement, otherwise, specifically state
each objection to each opposed exhibit.
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AO 85 (Rev. 8/98) Notice, Consent and Order of Reference – Exercise of Jurisdiction of United States Magistrate Judge


                                               UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION

MELANIE NICOLE MOORE,

          Plaintiff,

v.                                                                                  Case No: 8:20-cv-2184-MSS-SPF

POOCHES OF LARGO, INC. and LUIS
MARQUEZ,

          Defendants.

                           NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                            TO EXERCISE JURISDICTION
          In accordance with the provisions of 28 U.S.C. 636(c) and FED. R. CIV. P. 73, you are hereby notified that a United
States magistrate judge of this district court is available to conduct any or all proceedings in this case, including a jury or nonjury
trial, and to order the entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however, permitted only if
all parties voluntarily consent.

        You may, without adverse substantive consequences, withhold your consent, but this will prevent the court’s jurisdiction
from being exercised by a magistrate judge. If any party withholds consent, the identity of the parties consenting or withholding
consent will not be communicated to any magistrate judge or to the district judge to whom the case has been assigned.

         An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of appeals for
this judicial circuit in the same manner as an appeal from any other judgment of a district court.

                        CONSENT TO EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

         In accordance with the provisions of 28 U.S.C. 636(c), and FED.R.CIV.P. 73, the parties in this case hereby voluntarily
consent to have a United States magistrate judge conduct any and all further proceedings in the case, including, the trial, order
the entry of a final judgment, and conduct all post-judgment proceedings.

               Signatures                                                  Party Represented                                        Date




                                                                ORDER OF REFERENCE

        It Is ORDERED that this case be referred to the UNITED STATES MAGISTRATE JUDGE for all further proceedings
and the entry of judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73 and the foregoing consent of the parties.


                 DATE                                                                              UNITED STATES DISTRICT JUDGE

NOTE: RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED ON
      THIS FORM TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

MELANIE NICOLE MOORE,

       Plaintiff,

v.                                                          Case No: 8:20-cv-2184-MSS-SPF

POOCHES OF LARGO, INC. and LUIS
MARQUEZ,

       Defendants.


       CONSENT TO EXERCISE JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE
           OVER DISPOSITIVE MOTIONS DESCRIBED UNDER 28 U.S.C. § 636(b)(1)(B)

                                CONSENT TO EXERCISE OF JURISDICTION

         In accordance with the provisions of 28 U.S.C. § 636(c) and FED.R.CIV.P. 73, the parties in this case consent
to have a United States Magistrate Judge conduct any and all proceedings and enter a final order as to each motion
identified below.

       MOTION(S)

       Party Represented                                  Signatures                                     Date




                                         ORDER OF REFERENCE

        IT IS ORDERED that the above motions(s) be referred to the United States Magistrate Judge assigned to
this case to conduct all proceedings and enter a final order on such motions(s) in accordance with 28 U.S.C. § 636(c)
and FED.R.CIV.P. 73.


            DATE                                                       UNITED STATES DISTRICT JUDGE

NOTE: RETURN THIS FORM TO THE CLERK OF COURT ONLY IF ALL PARTIES HAVE CONSENTED
       ON THIS FORM TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE
       JUDGE.



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